9/7/2020       Case: 1:22-cv-03861 Document   #: -11-19
                                       Yahoo Mail  Second Filed:  11/14/22
                                                          Chance Act           Pageof1Funds
                                                                     - Misappropriation of 13 PageID #:434


     Second Chance Act - Misappropriation of Funds

     From: Fred Nance Jr., Ph.D.(trednance@clickservices.org)

    To:      tbacpa52@yahoo.com
    Cc       frednance@dickservices.org

     Date:   Wednesday, April 8, 2020, 11:37 AM CDT



     Mr. Bradley:

    Good afternoon. This is a courtesy email and report before I alert the Department of Justice. You are the
    accountant for the Second Chance Act (SCA) grant #2018-CY-BX-0025. EMAGES Inc. and C.U.C.K.
    Services, NFP are partners on this grant pursuant to the approved proposal submitted on May 1, 2018. Dr.
    Hattie Wash is the CEO of EMAGES. l, Dr. Fred L. Nance Jr., am the President & CEO of C.L.I.C.K. I am
    the Program Director for this grant. I believe a misappropriation of funds has occurred with this SCA grant.

     As Program Director, you provide me with a monthly "Drawdown" of available funds for this grant. On the
     "Drawdown" sheet for March 30, 2020, it reports Dorothy Collins received $880.00 for pay period March 9,
     2020 thru March 23, 2020. Dorothy Collins has not worked for this grant since resigning in January 2020.
     How long has their been a Drawdown of funds for Dorothy Collins since her resigning in January of 2020? I
     posed this question to Dr. Wash and she did not respond. Please respond. Thank you.

    ts/Dr. Fred Nance Jr., PhD
    Health & Human Services
    Social Policy Analysis and Planning
    www.clickservlces.org
    708-921-1395

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     �       3.30.20 EMAGES Drawdown from OJP.pdf
     �       2827kB




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9f7f2020                                        Yahoo Mall
               Case: 1:22-cv-03861 Document #: 11-19       - SCA11/14/22
                                                       Filed:   Orawdown Fraud
                                                                           Page 2 of 13 PageID #:435


     SCA Drawdown Fraud

     From: Fred Nance Jr. Ph.D.(frednance@clickservices.org)
     To:     tbacpa52@yahoo.com
     Cc      trednaocegicuckservrces.orq

     Date: Friday, April 10, 2020, 03:55 PM CDT



     Mr. Bradley:

     Good evening. First, Dorothy Collins resigned on or about January 16, 2020. Second, Dr. Wash's
     Drawdown for February and March 2020 included payroll expense for Dorothy Collins. This is intentional
     and fraudulent. Where did this money go? Attached are my supporting documents.

     ls/Dr. Fred Nance Jr., PhD
     Health & Human Services
     Social Policy Analysis and Planning
     www.clickservices.org
     708-921-1395

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            4.8.20 Dorothy Text Message on Resigning in January 2020.pdf
            307kB
             1.27.20 thru 2.24.20 Dorothy Collins Payroll.pdf
             89 5kB

             3.30.20 EMAGES Drawdown from OJP.pdf
             282 7kB




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9/7/2020       Case: 1:22-cv-03861 DocumentYahoo Mail - Misappropriation
                                             #: 11-19     Filed: 11/14/22of FundsPage
                                                                                 and Fraud
                                                                                        3 of 13 PageID #:436


     Misappropriation of Funds and Fraud

     From: Fred Nance Jr., Ph.D.(frednance@clid:seNices.org)

    To:      tbacpa52@yahoo.com

    Cc       frednance@clickseNices.org

     Date:   Wednesday, April 15, 2020, 02:53 PM CDT



     Mr. Bradley:

     I informed you on April 8, 2020 there was some fraudulent activity with the drawdowns of the Second
     Chance Act project. On April 10, 2020 I sent you an email with my supporting documentation. You have not
     responded. Attached are the emails l sent to you. If I do not hear from you about this issue, I am going to
     report it to the Office Justice Programs. Where did this money go? What was it spent on?

    I am peer reviewing 2 Second Chance Act solicitations in May 2020. I wilt pose questions to the OOJ, BJA
    team about financial responsibility of grantees. I will not be part of any fraud scheme.

    /s/Dr. Fred Nance Jr., PhD
    Health & Human Services
    Social Policy Analysis and Planning
    www.clickservices.org
    708-921-1395

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    this email message and its attachments rt" any, m error, please nobfy the sender immediately by replying to the message and please delete 11
    from your computer. Thank you.


             4.8.20 Email Message to Mr. Bradley re Fraud.pdf
             52 9kB

             4.l0.20 Email Message to Mr. Bradley with Supporting Docs on Fraud.pdf
             52kB




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9/7/2020                                Yahoo Mail-Appearance
                Case: 1:22-cv-03861 Document   #: 11-19 Filed:of Fraud Grant# 2016-CY-BX-0025
                                                                   11/14/22     Page 4 of 13 PageID #:437


    Appearance of Fraud Grant# 2018-CY-BX-0025

     From· Dr. Fred Nance Jr.(drfred.nancejr@gmail.com)

    To       tracey.willis@usdoj.gov

    Cc:      andre.bethea@usdoJgov; drfred nancejr@gma1!.com; frednance@d1ckservices.org

     Date·   Saturday, April 18, 2020, 01:04 AM CDT



    Good morning. I want to report the appearance of fraud with our grant. I am claiming "Whistleblower"
    status with this report. Attached is my letter and supporting documentation. Please review and comment.
    Thank you.

    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395

             4.17.20 SCA Payroll Fraud Letter.pdf
     � 1 1MB
             3.30.20 EMAGES Drawdown from OJP.pdf
     � 282.7kB
             1.27.20 thru 2.24.20 Dorothy Collins Payroll.pdf
     � 89 SkB
             4.8.20 Dorothy Text Message on Resigning in January 2020 pdf
     � 307kB
             4 8.20 Email Alert to Accountant Bradley re Fraud.pdf
     � 52.9kB

     U:j     4 8.20 Email Message to Mr. Bradley re Fraud.pdf
             52.9kB                                                                                   I

             4 10 20 Email Message to Mr. Bradley with Supporting Docs on Fraud.pdf
     � 52kB
             4.10.20 Emarl to Accountant re Fraud Validated.pdf
     � 52kB
             4.15.20 Final Email to Accountant re Fraud.pdf
     � 51 4kB
             4.15.20 Drawdown for Non Employee Dorothy Collins pdf
     � 73.6kB


     0       4. 17.20 Texts Re Laptop Computer Virus Protection.pdf
             1.2MB


     0       3.31.20 MA'AT Mentor Requestmg Ca!Hn for Coronavirus.pdf
             502kB

             4.7.20 TA Meetmg Non Attendance due to Virus Prctecncn.pdf
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                    Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 5 of 13 PageID #:438

                                                  Second Chance Act
                                                  2018-CY-BX-0025
                                                    MA`AT Project
                                       Mentor Group Attendance for Consultant Fees


January 31, 2020

Name         Date            Monday     Tuesday      Wednesday         Thursday        Friday          Saturday     Total Hours
                             Hours      Hours        Hours             Hours           Hours           Hours
Serita       January 3,                 1, 1, 1, 1                                     1, 1, 1, 1, 1   1, 1, 1, 1
Robinson     4, 7, 10, 11,                                                                                          13
             14, 17, 18,
             21, 24, 25,
             28, 31
Jamie        January 6,      1, 1, 1                                                   1                            4
Enge         13, 24, 27,
Valerie      January 6,      1, 1, 1                                                   1                            4
Minor        13, 24, 27,
Dion         January 2,      1, 1, 1                                   1, 1, 1, 1, 1
Walker       6, 9, 13, 16,                                                                                          8
             23, 27, 30
Earlene      January 6,      1, 1, 1                                                                                3
Beard        13, 27,
Chad         January 7,                 1, 1, 1, 1                                                                  4
Ellis        14, 21, 28
Lori         January 4,                              1, 1, 1                                           1, 1, 1, 1
Ortiz        8, 11, 18,                                                                                             7
             22, 25, 29
Deborah      January 8,                              1, 1, 1, 1                                                     4
Taylor       15, 22, 29
Dwayne       January 3,                              1                                 1, 1, 1, 1, 1
Reed         10, 15, 17,                                                                                            6
             24, 31


                                                         Page 1 of 2
                   Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 6 of 13 PageID #:439

                                                       Second Chance Act
                                                       2018-CY-BX-0025
                                                         MA`AT Project
                                            Mentor Group Attendance for Consultant Fees


Alicia        January 2,                                                  1, 1, 1, 1, 1,
Perry         9, 16, 23                                                   1                          6
              (2), 30

Total Hours for the month of January 2020          59 x $50 = $2950




                                                            Page 2 of 2
                    Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 7 of 13 PageID #:440

                                                  Second Chance Act
                                                  2018-CY-BX-0025
                                                    MA`AT Project
                                       Mentor Group Attendance for Consultant Fees


February 29, 2020

Name         Date           Monday      Tuesday      Wednesday       Thursday    Friday       Saturday     Total Hours
                            Hours       Hours        Hours           Hours       Hours        Hours
Serita       2/1, 2/4, 2/7,             1, 1, 1, 1                               1, 1, 1, 1   1, 1, 1, 1
Robinson     2/11, 2/14,                                                                                   12
             2/15, 2/18,
             2/21, 2/22,
             2/25, 2/28,
             2/29
Jamie        2/10, 2/24     1, 1                                                                           2
Enge
Valerie      2/3, 2/10,     1, 1, 1                                              1                         4
Minor        2/21, 2/24
Dion         2/6,                                                    1,                                    1
Walker
Earlene      2/3, 2/10,     1, 1, 1                                                                        3
Beard        2/24
Chad         2/4, 2/11,                 1, 1, 1, 1                                                         4
Ellis        2/18, 2/25
Lori         2/1, 2/5, 2/8,                          1, 1, 1, 1                               1, 1, 1, 1   8
Ortiz        2/12, 2/15,
             2/19, 2/22,
             2/26
Deborah      2/12, 2/19,                             1, 1, 1                                               3
Taylor       2/26
Dwayne       2/7,                                                                1,                        1
Reed



                                                       Page 1 of 2
                    Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 8 of 13 PageID #:441

                                                       Second Chance Act
                                                       2018-CY-BX-0025
                                                         MA`AT Project
                                            Mentor Group Attendance for Consultant Fees


Alicia        2/3, 2/6,     1, 1, 1,                                      1, 1, 1, 1                      7
Perry         2/10, 2/13,
              2/24,
              2/27(2)

All Case Management Progress Notes must be completed before submitting monthly invoices.

As of February 29, 2020, the following mentors have not completed their case management progress notes.

Jamie Enge
Valerie Minor
Earlene Beard
Alicia Perry
Chad Ellis
Serita Robinson
Lori Ortiz

Total Hours for the month of January 2020          43 x $50 = $2,150.00




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                                                       Second Chance Act
                                                       2018-CY-BX-0025
                                                         MA`AT Project
                                            Mentor Group Attendance for Consultant Fees


May 31, 2020

Name           Date            Monday       Tuesday       Wednesday        Thursday   Friday   Saturday         Total Hours
                               Hours        Hours         Hours            Hours      Hours    Hours
Serita         5/2/20, 5/5/,                1, 1, 1, 1    1, 1, 1, 1                           1, 1, 1, 1, 1
Robinson       5/6, 5/9,                                                                                        13
               5/12, 5/13,                                                                                      $650.00
               5/16, 5/19,
               5/20, 5/23,
               5/26, 5/27,
               5/30
Jamie          5/4/20, 5/11,   1, 1, 1, 1
Enge           5/18, 5/27                                                                                       4 $200.00
Valerie        5/4/20, 5/11,   1, 1, 1, 1
Minor          5/18, 5/27                                                                                       4 $200.00
Earlene        5/4/20, 5/18,   1, 1,                                                           1
Beard          5/30                                                                                             3 $150.00
Chad           5/5/20, 5/12,                1, 1, 1, 1
Ellis          5/19, 5/26
Alicia         5/2/20, 5/4,    1, 1, 1,                   1, 1, 1, 1                           1, 1, 1, 1, 1,
Perry          5/6, 5/9,                                                                       1                13
               5/11, 5/13,                                                                                      $650.00
               5/16, 5/18,
               5/20, 5/23,
               5/27, 5/30;
               5/30

All Case Management Progress Notes must be completed before submitting monthly invoices.

Total Hours for the month of May 2020               37 x $50 = $1,850.00

                                                             Page 1 of 1
                       Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 11 of 13 PageID #:444

                                                          Second Chance Act
                                                          2018-CY-BX-0025
                                                            MA`AT Project
                                               Mentor Group Attendance for Consultant Fees


June 30, 2020

Name            Date                Monday     Tuesday         Wednesday       Thursday Friday   Saturday Hours   Total Hours
                                    Hours      Hours           Hours           Hours    Hours
Serita          6/2/20, 6/3, 6/6,              1, 1, 1, 1, 1   1, 1, 1, 1,                       1, 1, 1, 1,
Robinson        6/9, 6/10, 6/13,                                                                                  13
                6/16, 6/17, 6/20,
                6/23, 6/24, 6/27,
                6/30
Jamie           6/1/20, 6/8,        1, 1, 1,                                                                      5
Enge            6/15, 6/22, 6/29    1, 1
Valerie         6/1/20, 6/8,        1, 1, 1,                                                                      5
Minor           6/15, 6/22, 6/29    1, 1
Earlene         6/1/20, 6/8,        1, 1, 1,
Beard           6/15, 6/22, 6/29    1, 1                                                                          5
Chad            6/2/ 20, 6/9,                  1, 1, 1, 1, 1
Ellis           6/16, 6/23, 6/30                                                                                  5
Alicia          6/1/20, 6/3, 6/6,   1, 1, 1,                   1, 1, 1, 1,                       1, 1, 1, 1,
Perry           6/8, 6/10, 6/13,    1, 1                                                                          13
                6/15, 6/17, 6/20,
                6/22, 6/24, 6/27,
                6/29

All Case Management Progress Notes must be completed before submitting monthly invoices.

Total Hours for the month of June 2020                 46 x $50 = $2,300.00




                                                                 Page 1 of 1
                       Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 12 of 13 PageID #:445

                                                            Second Chance Act
                                                            2018-CY-BX-0025
                                                              MA`AT Project
                                                 Mentor Group Attendance for Consultant Fees


July 31, 2020

Name            Date                Monday       Tuesday       Wednesday         Thursday Friday   Saturday Hours   Total Hours
                                    Hours        Hours         Hours             Hours    Hours
Serita          7/1/20, 7/7, 7/8,                1, 1, 1, 1    1, 1, 1, 1, 1                       1, 1, 1, 1,
Robinson        7/11 (2), 7/14,                                                                                     13 =
                7/15, 7/18, 7/21,                                                                                   $650.00
                7/22, 7/25, 7/28,
                7/29
Jamie           7/6/20, 7/13,       1, 1, 1, 1
Enge            7/20, 7/27                                                                                          4 = $200.00
Valerie         7/6/20, 7/13,       1, 1, 1, 1
Minor           7/20, 7/27                                                                                          4 = $200.00
Earlene         7/6/20, 7/13,       1, 1, 1, 1
Beard           7/20, 7/27                                                                                          4 = $200.00
Chad            7/7/20, 7/14,                    1, 1, 1, 1
Ellis           7/21, 7/28                                                                                          4 = $200.00
Alicia          7/1/20, 7/6, 7/8,   1, 1, 1, 1                 1, 1, 1, 1, 1                       1, 1, 1, 1,
Perry           7/11 (2), 7/13,                                                                                     13 =
                7/15, 7/18,                                                                                         $650.00
                7/20,7/22, 7/25,
                7/27, 7/29

All Case Management Progress Notes must be completed before submitting monthly invoices.

Total Hours for the month of June 2020                   42 x $50 = $2,100.00




                                                                  Page 1 of 1
                     Case: 1:22-cv-03861 Document #: 11-19 Filed: 11/14/22 Page 13 of 13 PageID #:446

                                                        Second Chance Act
                                                        2018-CY-BX-0025
                                                          MA`AT Project
                                             Mentor Group Attendance for Consultant Fees


August 31, 2020

Name          Date                Monday     Tuesday       Wednesday         Thursday Friday   Saturday Hours   Total Hours
                                  Hours      Hours         Hours             Hours    Hours
Serita        8/1/20, 8/4, 8/5,              1, 1, 1, 1    1, 1, 1, 1                          1, 1, 1, 1, 1
Robinson      8/8, 8/11, 8/12,                                                                                  13 =
              8/15, 8/18, 8/19,                                                                                 $650.00
              8/22, 8/25, 8/26,
              8/29
Jamie         8/3/20, 8/10,       1, 1, 1,                                                                      5 = $250.00
Enge          8/17, 8/24, 8/31    1, 1
Valerie       8/3/20, 8/10,       1, 1, 1,                                                                      5 = $250.00
Minor         8/17, 8/24, 8/31    1, 1
Earlene       8/3/20, 8/10,       1, 1, 1,                                                                      5 = $250.00
Beard         8/17, 8/24, 8/31    1, 1
Chad          8/4/20, 8/11,                  1, 1, 1, 1                                                         4 = $200.00
Ellis         8/18, 8/25
Alicia        8/1/20, 8/3, 8/5,   1, 1, 1,                 1, 1, 1, 1                          1, 1, 1, 1, 1
Perry         8/8, 8/10, 8/12,    1, 1                                                                          14 =
              8/15, 8/17, 8/19,                                                                                 $700.00
              8/22, 8/24, 8/26,
              8/29, 8/31

All Case Management Progress Notes must be completed before submitting monthly invoices.

Total Hours for the month of August 2020             46 x $50 = $2,300.00




                                                              Page 1 of 1
